                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA

                   v.                                        Case No. 21-CR-175-2 (TJK)

JOSEPH RANDALL BIGGS, et al.,

              Defendants.

                              MOTION TO CONTINUE TRIAL

      Pursuant to LCrR 57.2(b), defendant Biggs respectfully requests the Court to continue trial

of this matter from August 8, 2022 until December 12, 2022, or until the earliest date after

December 12, as the Court may see fit, and is convenient for the parties. Biggs and his counsel ask

for a continuance at this juncture and time, and ask for a new trial start date of December 12—i.e.,

a delay of four months—because a continuance is in the best interest of the defendant and of the

client in several respects. A continuance would advance the objective of having a fair trial of this

case (No. 21-CR-175) in the District of Columbia or in any of the other ninety-three American

federal judicial districts in which the case might be heard and decided. Defendant Dominic Pezzola

(“Pezzola”) also joins in this motion.

      In support of this motion, Biggs respectfully notes:

     Trial in this case is slated for August 8, 2022. That is less than two months away. It is

estimated that trial will last from four to six weeks. Hearings of the House of Representatives’

Select Committee on January 6 opened on June 9—or just last week. Approximately 20 million

Americans, which includes prospective jurors in this judicial district, watched and heard that

Thursday evening prime-time production. Biggs was prominently and repeatedly mentioned by
name by one witness. That witness was of course not subject to cross-examination. Strong and

strident mentions of Proud Boy “Joseph Biggs” by her and other Congressional players were

featured in the hearings on the night of June 9 alone. A video of Pezzola with his name under it,

coupled with his being alluded to as a co-conspirator of Biggs in a new seditious conspiracy

indictment released just two days before, was also highlighted. This is not to mention hefty

overtures about the alleged role of Proud Boys as a group on January 6 showcased by a second

witness. The words, soundbites and images of June 9 will influence some jurors who reside here

in the District of Columbia. Moreover, the House Select Committee hearings will continue

through June, will influence midterm elections (as partly intended), and in any event are likely to

stay in the public mind. Biggs seeks to start trial after the midterms are over and some “dust has

settled” with respect to public opinion. See also, and with respect to continuance of trials in

circumstances of ongoing, concurrent, or contemporaneous Congressional hearings, Delaney v.

United States, 199 F.2d 107, 114 (1st Cir. 1952).

      Second, and importantly, some 2,000 House Select Committee deposition and interview

transcripts—most are testimonies and records of January 6 witnesses who are not currently under

indictment--will not be available for release until after the 6-week trial in this case begins on

August 8. Those transcripts are important for Biggs and Pezzola to have and review before

trial—not during or after. The transcripts are must-haves for trial preparation.

      Finally, with respect to outstanding requests of Biggs and other defendants in 21-CR-175

for change of trial venue to a district other than the District of Columbia, in view of the House

Select Committee hearings, Biggs would seek new polling data over the next weeks and months

                                           -2-
on bias in the District of Columbia’s jury pool. This new data would update the four bias studies

already completed by other January 6 defendants and now serve as a baseline measurement of

significant jury pool prejudice in this District against January 6 protesters that existed well in

advance of the much-watched Congressional hearings commencing seven days ago.

      Accordingly, and for good cause shown, defendant Joseph Biggs requests that this Motion

to Continue Trial until December 12, 2022, or until a next available convenient time soon

thereafter, be granted.


                                               Respectfully submitted,

                                               COUNSEL FOR JOSEPH RANDALL BIGGS

Dated: June 16, 2022                            By: /s/ J. Daniel Hull
                                               JOHN DANIEL HULL
                                               DC Bar No. 323006
                                               California Bar No. 222862
                                               HULL MCGUIRE PC
                                               1420 N Street, N.W.
                                               Washington, D.C. 20005
                                               (202) 429-6520 office
                                               (619) 895-8336 cell
                                               jdhull@hullmcguire.com




                                                 -3-
                               CERTIFICATE OF SERVICE

      The undersigned certifies that on June 16, 2022, defendant Biggs’ Motion to Continue

Trial was filed and served via the Electronic Case Filing (ECF) system upon the Government and

all counsel of record.


                                                  By: /s/ J. Daniel Hull
                                                  JOHN DANIEL HULL
                                                  DC Bar No. 323006
                                                  California Bar No. 222862
                                                  HULL MCGUIRE PC
                                                  1420 N Street, N.W.
                                                  Washington, D.C. 20005
                                                  (202) 429-6520
                                                  (619) 895-8336 cell
                                                  jdhull@hullmcguire.com
